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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

CASA DE ALABANZA and                     )
JONESBORO COMMERCIAL                     )
CENTER, LLC,                             )
                                         )
                   Plaintiffs,           )
                                         )       CIVIL ACTION FILE NO.
v.                                       )       1:20-cv-04997-LMM
                                         )
CITY OF JONESBORO, GEORGIA,              )
HON. JOY B. DAY, Mayor, and              )
TRACEY MESSICK, BOBBY LESTER,            )
BILLY POWELL, DR. DONYA L.               )
SARTOR, PH.D., PAT SEBO, and ED          )
WISE, individually and in their          )
Official Capacities as Mayor and         )
Councilmembers of the City of            )
Jonesboro, Georgia                       )
                                         )
                   Defendants.           )

           MOTION TO DISMISS OF DEFENDANTS JOY B. DAY,
           TRACEY MESSICK, BOBBY LESTER, BILLY POWELL,
              DONYA SARTOR, PAT SEBO, AND ED WISE

      Come now defendants Joy B. Day, Tracey Messick, Bobby Lester, Billy

Powell, Donya L. Sartor, Pat Sebo, and Ed Wise (hereinafter “these defendants”),

pursuant to Rule 12 (b)(6) of the Federal Rules of Civil Procedure, and hereby

move for dismissal of all claims asserted against these defendants herein,

respectfully showing this Court the following:
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                                       1.

      In the present action, Casa de Alabanza and Jonesboro Commercial Center,

LLC (hereinafter “plaintiffs”) seek declaratory and injunctive relief, damages,

attorneys’ fees, and costs against these defendants and against the City of

Jonesboro, Georgia.

                                       2.

      The prayers for monetary and non-monetary relief against these defendants

are based solely on the city’s denial of plaintiffs’ conditional use permit

application.

                                       3.

      The permit application, filed by Jonesboro Commercial Center, LLC, and

attached hereto as Exhibit A, requested issuance of a conditional use permit for

property located at 7827 Old Morrow Road for the following purpose: “House of

Prayer/Casa De Alabanza. Church, Place of religious assembly.”

                                       4.

      These defendants are members of the Jonesboro City Council and

Jonesboro’s Mayor.

                                       5.

      On November 9, 2020, at a public hearing, these defendants voted to deny


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said application for the reasons stated in its November 20, 2020 notification to

applicant, a true and correct copy of which is attached hereto as Exhibit B.

                                         6.

      The claims advanced by plaintiffs cannot succeed against these defendants

because these defendants are protected by absolute legislative immunity and

qualified immunity and, therefore, these defendants should be dismissed as

parties herein.

                                         7.

      Additionally, the official capacity claims against these defendants are

independently subject to dismissal based on redundancy because Jonesboro is a

named defendant herein.

      Wherefore, these defendants respectfully pray that the grounds of their

motion to dismiss be inquired into and that said motion be sustained and granted;

that all claims asserted against these defendants be dismissed pursuant to Rule

12(b)(6) of Federal Rule of Civil Procedure; that these defendants be dismissed as

parties herein, and that they have such relief and such other and further relief as

this Court deems just and proper in the circumstances.

      The undersigned, in accordance with L.R. 7.1 and 5.1 hereby certifies that

the typefont used herein is 13-Point Books Antiqua font.


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This 15th day of February, 2021.

                               /s/ Harvey S. Gray
                               Harvey S. Gray
                               Georgia Bar No. 305838
                               Alex Joseph
                               Georgia Bar No. 590921
                               Attorneys for Defendants Hon. Joy B. Day,
                               Tracey Messick, Bobby Lester, Billy Powell, Dr.
                               Donya L. Sartor, Ph.D., Pat Sebo, and Ed Wise




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                           CERTIFICATE OF SERVICE

      This is to certify that I have this day filed a copy of the foregoing MOTION

TO DISMISS OF DEFENDANTS JOY B. DAY, TRACEY MESSICK, BOBBY

LESTER, BILLY POWELL, DONYA SARTOR, PAT SEBO, AND ED WISE filing

the same with the Odyssey eFileGA filing system which will automatically

electronically serve all counsel of record.

      This 15th day of February, 2021.

                                       /s/ Harvey S. Gray
                                       Harvey S. Gray
                                       Georgia Bar No. 305838
                                       Alex Joseph
                                       Georgia Bar No. 590921
                                       Attorneys for Defendants Hon. Joy B. Day,
                                       Tracey Messick, Bobby Lester, Billy Powell, Dr.
                                       Donya L. Sartor, Ph.D., Pat Sebo, and Ed Wise

GRAY, RUST, ST. AMAND, MOFFETT & BRIESKE, LLP
950 East Paces Ferry Road, NE
Suite 1700 – Salesforce Tower Atlanta
Atlanta, GA 30326
(404) 870-7376 (Gray)
(404) 870-7389 (Joseph)
(404) 870-7374 (Fax)
hgray@grsmb.com
ajoseph@grsmb.com




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